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 8 Attorneys for United States of America

 9                                UNITED STATES DISTRICT COURT

10                              NORTHERN DISTRICT OF CALIFORNIA

11                                          OAKLAND DIVISION

12
     UNITED STATES OF AMERICA,                   ) NO. CR 20-0317-10 HSG
13                                               )
            Plaintiff,                           ) STIPULATION TO ADVANCE SENTENCING
14                                               ) HEARING AND ORDER (as modified)
       v.                                        )
15                                               )
     SHEENA MIDDLETON,                           )
16                                               )
            Defendant.                           )
17                                               )

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     STIPULATION TO ADVANCE HEARING
     Case No. CR 20-0317-10 HSG
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 1          Having met and conferred regarding the pending sentencing hearing, the parties through counsel

 2 of record have agreed to request that the Court advance the sentencing hearing to April 26, 2023.

 3 Counsel confirmed with the Court’s staff that this date is available.

 4          IT IS SO STIPULATED.

 5

 6 DATED: April 7, 2023                                           /s/                  ___
                                                         JONATHAN U. LEE
 7                                                       Assistant United States Attorney

 8
     DATED: April 7, 2023                                         /s/               ___
 9                                                       K. ALEXANDRA MCCLURE
                                                         Counsel for Defendant Middleton
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12
                                            ORDER
13
     For good cause shown, it is hereby ordered that the sentencing hearing will occur on April 26, 2023
14
     at 2:00 p.m. The sentencing date previously set for May 10, 2023 is vacated.
15
            IT IS SO ORDERED.
16

17
     DATED: 4/7/2023                                            ___________________________
18                                                              HON. HAYWOOD S. GILLIAM, JR.
                                                                United States District Judge
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     STIPULATION TO ADVANCE HEARING
     Case No. CR 20-0317-10 HSG
